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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

In re:                                                          Case No.: 8:18-bk-02807-RCT
                                                                Chapter 7
Mark Alan Piburn
Judith Ann Piburn

         Debtor(s)              /

                                    NOTICE OF SCRIVENER ERROR

       NOTICE IS HEREBY GIVEN that Stephen L. Meininger’s Motion to Sell Real Property
and Pay Secured Creditor(s) and Transactional Costs (Dkt. No. 30, the “Motion”) contains a
scrivener error. Specifically, within the “WHEREFORE clause” of the Motion, the Trustee
references an anticipated closing cost incorrectly described as:

“5% of base sale price to Charles Rutenburg Realty $ 5,700.00.”

The Trustee hereby provides notice to all interested parties that the same anticipated closing cost is,
and should have been described as,:

“6% of base sale price to Keller Williams Realty        $ 5,700.00”


                                                Respectfully submitted,

                                                /s/ Richard M. Dauval
                                                Richard M. Dauval, Esq.
                                                3900 1st Street North
                                                St. Petersburg, FL 33703
                                                Ph No: (727) 327-3328



                                     CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of this notice has been furnished
either electronically or by U.S. Mail, this May 30, 2019 to the US Trustee, the Debtor and all those
who are electronically notified of such filings

                                                /s/ Richard M. Dauval
                                                Richard M. Dauval, Esq.
